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CLERK, US. DISTRICT COURT

5/7/2020

CENTRAL DISTRICT OF CALIFORNIA
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JOSEPH H. HUNT oo,

Assistant Attorney General, Civil Division

ANDY J. MAO

SARA McLEAN

ARTHUR §. DI DIO

Attorneys, Civil Division

United States Department of Justice
Room 7516, Federal Building
300 N. Los Angeles Street
Los Angeles, California 90012
T: 213.894.2447|F: 213.894.7819
Email: arthur.di.dio@usdoj.gov

Attorneys for United States of America
UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

EASTERN DIVISION
UNITED STATES OF AMERICA ex No. EDCV13-02195 JGB (DTBx)
rel, [UNDER SEAL],
NOTICE OF [UNDER SEAL]
Plaintiff] s],
FILED UNDER SEAL PURSUANT TO
V. HE FALSE CLAIMS ACT, 31 U.S.C. §§
3730(b)(2) AND (3)]
[UNDER SEAL],
LODGED CONCURRENTLY
Defendant[s]. EREWITH: [PROPOSED] ORDER]

 

 

 

 
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JOSEPH H. HUNT oo,
Assistant Attorney General, Civil Division

 

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ANDY J. MAO
SARA McLEAN
ARTHUR S. DI DIO
Attorneys, Civil Division
United States Department of Justice
Room 7516, Federal Building
300 N. Los Angeles Street
Los Angeles, California 90012
T: 213.894.2447|F: 213.894.7819
Email: arthur.di.dio@usdoj.gov
Attorneys for United States of America
UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA
EASTERN DIVISION
UNITED STATES OF AMERICA ex No. EDCV13-02195 JGB (DTBx)
rel. SYD ACKERMAN,
NOTICE OF ELECTION OF THE
Plaintiffs, UNITED STATES TO INTERVENE IN
PART AND DECLINE TO INTERVENE
v. IN PART AND STIPULATION RE
UNSEALING

WILLIAM M. KELLY, M.D., INC. &

OMEGA IMAGING, INC., FILED UNDER SEAL PURSUANT TO
HE FALSE CLAIMS ACT, 31 U.S.C. §§
Defendants. 3730(b)(2) AND (3)]
LODGED CONCURRENTLY

 

 

 

EREWITH: [PROPOSED1 ORDER]

 
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Pursuant to the False Claims Act (“FCA”), 31 U.S.C. § 3730(b)(4), the United
States of America (“United States”) hereby notifies the Court of its decision to intervene
in part and decline to intervene in part in this gui tam action brought by Relator Syd
Ackerman (“Relator”). In his Complaint, the Relator alleges that the Defendants,
William M. Kelly, M.D., Inc. and Omega Imaging, Inc., which own and operate 11
outpatient diagnostic imaging facilities in Southern California, and which are owned by

Dr. William M. Kelly, violated the FCA by submitting claims to Medicare (1) for certain

 

procedures, including computed tomography (“CT”) and magnetic resonance imaging
(“MRI”) scans involving the administration of intravenous (“IV”) contrast materials, that
were performed without the requisite physician supervision, (2) for procedures that were
performed at unaccredited facilities, and (3) for procedures that were referred by
physicians to whom the Defendants paid kickbacks in violation of the federal Anti-
Kickback Statute, 42 U.S.C. § 1320a-7b. The United States hereby intervenes in the
Relator’s action against both Defendants with respect to the Relator’s first two
allegations, namely that the Defendants submitted claims to Medicare for procedures that
were not properly supervised by a physician and for procedures performed at a facility
that lacked accreditation. The United States declines to intervene as to Relator’s

kickback allegation. The United States will file its Complaint against the Defendants

 

within the one hundred and twenty-day time period following the filing of this Notice
and serve its Complaint on the Defendants contemporaneously with its filing.

Although the United States declines to intervene as to the Relator’s kickback
allegation, we respectfully refer the Court to 31 U.S.C. § 3730(b)(1), which allows
Relator to maintain this action in the name of the United States, provided, however, that
the “action may be dismissed only if the court and the Attorney General give written
consent to the dismissal and their reasons for consenting.” /d. The United States Court
of Appeals for the Ninth Circuit has held that, notwithstanding this language, the United
States has the right only to a hearing when it objects to a settlement or dismissal of the

action. U.S. ex rel. Green v. Northrop Corp., 59 F.3d 953, 959 (9th Cir. 1995); U.S. ex

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rel. Killingsworth v. Northrop Corp., 25 F.3d 715, 723-25 (9th Cir. 1994). Therefore,
the United States requests that, should Relator or the Defendants propose that the portion
of the action in which the United States has declined to intervene be dismissed, settled,
or otherwise discontinued, Relator and the Defendants will provide the United States
with notice of the same and the Court will provide the United States with an opportunity
to be heard before the Court rules or grants its approval.

The United States also reserves the right to seek the dismissal of the Relator’s
action or claim on any appropriate grounds, including under 31 U.S.C. §§ 3730(b)(5) and
(e)(4).

Furthermore, pursuant to the “Stipulation re Unsealing” set forth below, the
United States and the Relator request that the Relator’s Complaint, this Notice, and the
attached proposed Order be unsealed. All papers on file relating to the United States’
motions for extensions of the intervention deadline and seal in this action, however,
should remain under seal because, in discussing the content and extent of the United
States’ investigation, such papers were provided by law to the Court alone for the sole
purpose of evaluating whether the seal and time for making an election to intervene
should be extended.

Pursuant to 31 U.S.C. § 3730(c)(3), the United States also requests that, as to the
part of the action in which the United States has declined to intervene, all pleadings filed
in this action be served upon the United States and that all orders issued by the Court in
this action be sent to counsel for the United States. The United States reserves its right
to order any deposition transcripts. The United States also requests that it be served with
all notices of appeal in this action.

A proposed order accompanies this notice.

 
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Dated: May 6, 2020

Respectfully submitted,

JOSEPH H. HUNT oo
Assistant Attorney General, Civil Division
ANDY J. MAO

SARA McLEAN

Attorneys, Civil Division

tf

ARTHUR S. DI DIO

Senior Trial Counsel
Commercial Litigation Branch, Fraud Section
Civil Division
Attorneys for the United States of America

 
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STIPULATION RE UNSEALING
The United States and the Relator hereby stipulate as follows:

l. The Relator’s Complaint, the United States’ Notice of Election of
Intervention, and this Order may be unsealed.

2. All other papers or orders on file in this matter should remain under seal.

3. The seal may be lifted on all matters occurring in this action after the date
of this Order.

Dated: May 6, 2020 Respectfully submitted,

JOSEPH H. HUNT

Assistant Attorney General, Civil Division
ANDY J. MAO

SARA McLEAN

Attorneys, Civil Division

United States Department of Justice

300 North Los Angeles Street

Federal Building 7516-110

Los Angeles, CA 90012

Tel: (213) 894-2447

Fax: (213) 307-5788

E-mail: Arthur.Di.Dio@usdoj.gov
Attorneys for the United States of America

At kro

ARTHUR §&. DI DIO

Senior Trial Counsel

Commercial Litigation Branch, Fraud Section
Civil Division

ROEMER & hd LP

BRIAN S. HARNIK
Attorneys for Relator Syd Ackerman

 

 

 
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PROOF OF SERVICE BY E-MAIL
I am over the age of 18 and not a party to the above-captioned action. Iam
employed by the Office of United States Attorney, Central District of California. My
business address is 300 North Los Angeles Street, Suite 7516, Los Angeles, California
90012.

On May 6, 2020, I served the NOTICE OF ELECTION OF THE UNITED
STATES TO INTERVENE IN PART AND DECLINE TO INTERVENE IN PART
AND STIPULATION RE UNSEALING on each person or entity named below by e-
mail, pursuant to written consent under Federal Rule of Civil Procedure 5(b)(2)(E).

Date of e-mailing: May 6, 2020. Place of e-mailing: Los Angeles, CA.
Person(s) and/or Entity(s) to whom e-mailed:

Brian S. Harnik

Roemer and Harnik LLP
45-025 Manitou Drive
Indian Wells, CA 92210
bharnik@rhlawfirm.com

I declare that Iam employed in the office of a member of the bar of this
Court at whose direction the service was made.
I declare under penalty of perjury that the foregoing is true and correct.

Executed on May 6, 2020, at Los Angeles, California.

Larot J hana,

CAROL M. YBARRA

 

 
